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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

FTX TRADING LTD. et al.,1                                              Case No. 22-11068 (JTD)

                                     Debtors.                          (Jointly Administered)


ALAMEDA RESEARCH LTD., and FTX                                         Adversary Proc. Case No. 23-ap-50444 (JTD)
TRADING LTD.,

                   Plaintiffs,

vs.

PLATFORM LIFE SCIENCES, INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                   Defendants.



                    AMENDED2 WITNESS AND EXHIBIT LIST OF
            PLATFORM LIFE SCIENCES, INC., A CANADIAN CORPORATION,
                FOR HEARING ON NOVEMBER 15, 2023 AT 1:00 PM (ET)

         Platform Life Sciences, Inc., a Canadian corporation (“PLS Canada”), submits this witness

and exhibit list for the hearing on PLS Canada’s Motion Under Rule 12(b)(2) to Dismiss Complaint



1
  The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288 and
  4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
  Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
  such information may be obtained on the website of the Debtors’ claims and noticing agent at
  https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
  Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
2
  Amended items are italicized and underlined.


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for Lack of Personal Jurisdiction on Behalf of Platform Life Sciences, Inc., a Canadian

Corporation [Dkt. No. 35] (the “Motion”),3 scheduled for November 15, 2023 at 1:00 p.m. (ET)

(the “Hearing”) before the Honorable John T. Dorsey, at the United States Bankruptcy Court for

the District of Delaware, located at 824 N. Market Street, 5th Floor, Courtroom No. 5, Wilmington,

Delaware 19801.

                                                      WITNESSES

            PLS Canada designates the following person as a witness who may be called at the Hearing.

                   1.           Dr. Edward J. Mills

            PLS Canada also cross-designates all witnesses designated by any other party in connection

with the Hearing, and reserves the right to call any necessary rebuttal or impeachment witnesses.

                                                      EXHIBITS

            PLS Canada designates the following exhibits that may be used at the Hearing:4

    Exhibit
                  Description                                                                             Docket No.
     No.
      1.          PLS Canada’s Certificate of Incorporation                                                   36-1
      2.          PLS Delaware’s Certificate of Incorporation                                                 36-2
      3.          CIBC Bank Statement Reflecting Incoming Wire ($3.25 Million)                                36-3
      4.          CIBC Statement of Incoming Wire ($3.25 Million)                                             36-4
                  Simple Agreement for Future Equity Between PLS Canada and
       5.                                                                                                     36-5
                  Latona dated May 2, 2022
       6.         CIBC Bank Statement Reflecting Incoming Wire ($35 Million)                                  36-6
       7.         CIBC Statement of Incoming Wire ($35 Million)                                               36-7
                  Services Agreement Between PLS Canada and Latona dated June 6,
       8.                                                                                                     36-8
                  2022
        9.        CIBC Bank Statement Reflecting Incoming Wire ($15 Million)                                  36-9
       10.        CIBC Statement of Incoming Wire ($15 Million)                                              36-10
                  Print out from CIBC Website ((https://www.cibc.com/en/personal-
       A.                                                                                                     46-1
                  banking/ways-to-bank/sending-receiving-wire-transfers.html)
3
    Capitalized terms used herein that are not otherwise defined have the meanings ascribed to them in the Motion,
    reply and/or the declarations filed in support thereof.

4
     Exhibit references are to exhibits to the Mills Declaration in Support of the Motion [Dkt. No. 36] (Exs. 1-10) and
    the Supplemental Mills Declaration in Support of the Motion [Dkt. No. 46] (Exs. A-I).

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   Exhibit
                  Description                                                               Docket No.
    No.
                  Print-out from a healthcare reporting website showing that CVS has
                  ceased their clinical trial program
      B.                                                                                       46-2
                  (https://www.fiercehealthcare.com/retail/cvs-closing-down-clinical-
                  trials-business-after-2-years)
                  Rental contracts for Michael Zimmerman’s residence in Vancouver,
                  Canada for the period from July 4, 2022 to October 13, 2022 and
      C.          December 1, 2022 to May 31, 2023 and invoices for Mr.                        46-3
                  Zimmerman’s stays at the Granville Island Hotel in Vancouver
                  (redacted)
                  Print-out of Cytel, Inc.’s website showing Cytel’s global locations
      D.                                                                                       46-4
                  (https://www.cytel.com/about-us)
                  Article regarding Cytel, Inc.’s acquisition of MTEK Sciences in 2019
       E.         (https://www.labmanager.com/cytel-acquires-mtek-sciences-further-            46-5
                  expanding-its-advanced-real-world-analytics-capabilities-578)
                  Print-out of from the New England Journal of Medicine
       F.                                                                                      46-6
                  (https://www.nejm.org/about-nejm/about-nejm)
      G.          Print-out from The Lancet (https://www.thelancet.com/about-us)               46-7

      H.          Print-out from PubMed (https://pubmed.ncbi.nlm.nih.gov/about)                46-8

                  Article regarding the TOGETHER Trial being conducted by
                  McMaster University
       I.         (https://brighterworld.mcmaster.ca/articles/mcmaster-researchers-            46-9
                  leading-international-study-to-test-three-widely-available-drugs-for-
                  early-covid-19-treatment)

            PLS Canada also cross-designates all exhibits designated by any other party in connection

with the Hearing and reserves the right to use additional exhibits for rebuttal or impeachment

purposes.

            PLS Canada reserves the right to amend or supplement this witness and exhibit list prior to

the Hearing.




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 Dated:      November 13, 2023           PACHULSKI STANG ZIEHL & JONES LLP

                                         /s/ James E. O’Neill
                                         James E. O’Neill (DE Bar No. 4042)
                                         Alan J. Kornfeld (CA Bar No. 130063) (admitted pro hac)
                                         Tavi C. Flanagan (CA Bar No. 169156) (admitted pro hac)
                                         Gillian N. Brown (CA Bar No. 205132) (admitted pro hac)
                                         919 N. Market Street, 17th Floor
                                         P.O. Box 8705
                                         Wilmington, DE 19899-8705 (Courier 19801)
                                         Telephone: (302) 652-4100
                                         Facsimile: (302) 652-4400
                                         Email: joneill@pszjlaw.com
                                                 akornfeld@pszjlaw.com
                                                 tflanagan@pszjlaw.com
                                                 gbrown@pszjlaw.com

                                         Counsel to Defendant Platform Life Sciences, Inc.




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